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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

  TRAVIS ANDREW SWIDEREK,

                Plaintiff,

                       v.                             CAUSE NO. 3:24-CV-54-PPS-JEM

  RON NEAL, et al.,

                Defendants.

                                   OPINION AND ORDER

        Travis Andrew Swiderek, a prisoner without a lawyer, is proceeding in this case

 on two claims. First, there are the set of claims against Officer Kevin Cross, Lieutenant

 Nadine Smith-Robinson, Officer Darnell Crockett, Sergeant Jeniene Walton, Lieutenant

 Dennis Koen, Jacqueline Mayes, and Dr. Christina Chico “in their personal capacity for

 money damages for denying him medical care for injuries he suffered in a January 2023

 fire in violation of the Eighth Amendment[.]” Second, there are the claims against

 Commissioner Christina Reagle, Warden Ron Neal, Assistant Warden Dawn Buss,

 Major Douglas Wardlow, Safety Hazard Manager Deborah Taylor, and Supervisor of

 Fire Training Gordon Beecher “in their personal capacity for monetary damages for

 deliberate indifference to the risk of harm posed by a fire that occurred in January 2023

 in violation of the Eighth Amendment[.]” ECF 8 at 11.

        All of the defendants except Dr. Chico now seek summary judgment, arguing

 Swiderek did not exhaust his available administrative remedies before filing this

 lawsuit. ECF 75. The matter is fully briefed. ECF 92, 93, 94, 95. I’ll refer to this group of
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 defendants as “the State Defendants.” Dr. Chico filed a separate motion for summary

 judgment, also arguing Swiderek did not exhaust his administrative remedies before

 filing this lawsuit. ECF 85. That motion is also now fully briefed. ECF 96, 97, 98, 99.

        Summary judgment must be granted when “there is no genuine dispute as to

 any material fact and the movant is entitled to judgment as a matter of law.” Federal

 Rule of Civil Procedure 56(a). A genuine issue of material fact exists when “the

 evidence is such that a reasonable [factfinder] could [find] for the nonmoving party.”

 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). To determine whether a genuine

 issue of material fact exists, I must construe all facts in the light most favorable to the

 non-moving party and draw all reasonable inferences in that party’s favor. Heft v.

 Moore, 351 F.3d 278, 282 (7th Cir. 2003). A party opposing a properly supported

 summary judgment motion may not rely merely on allegations or denials in its own

 pleading but must “marshal and present the court with the evidence she contends will

 prove her case.” Goodman v. Nat’l Sec. Agency, Inc., 621 F.3d 651, 654 (7th Cir. 2010).

        Prisoners are prohibited from bringing an action in federal court with respect to

 prison conditions “until such administrative remedies as are available are exhausted.”

 42 U.S.C. § 1997e(a). “[A] suit filed by a prisoner before administrative remedies have

 been exhausted must be dismissed; the district court lacks discretion to resolve the

 claim on the merits, even if the prisoner exhausts intra-prison remedies before

 judgment.” Perez v. Wisconsin Dep’t of Corr., 182 F.3d 532, 535 (7th Cir. 1999); see also

 Chambers v. Sood, 956 F.3d 979, 984-85 (7th Cir. 2020). “Failure to exhaust is an




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 affirmative defense that a defendant has the burden of proving.” King v. McCarty, 781

 F.3d 889, 893 (7th Cir. 2015).

        The law takes a “strict compliance approach to exhaustion.” Lockett v. Bonson, 937

 F.3d 1016, 1025 (7th Cir. 2019) (citation omitted). To exhaust remedies, “a prisoner must

 file complaints and appeals in the place, and at the time, the prison’s administrative

 rules require.” Id. But inmates are only required to exhaust administrative remedies that

 are “available.” Woodford v. Ngo, 548 U.S. 81, 102 (2006). The availability of a remedy is

 not a matter of what appears “on paper,” but rather whether the process was in

 actuality available for the prisoner to pursue. Kaba v. Stepp, 458 F.3d 678, 684 (7th Cir.

 2006). When prison staff hinder an inmate’s ability to use the administrative process,

 administrative remedies are not considered “available.” Id.

        The Offender Grievance Process, which was available to Swiderek in the law

 library and via his tablet, provides that he needed to complete three steps before filing

 this lawsuit. ECF 75-1 at 4; ECF 75-2 at 4. To fully exhaust a grievance, Swiderek needed

 to file: (1) a formal grievance; (2) a Level I appeal to the warden; and (3) a Level II

 appeal to the Department Grievance Manager. ECF 75-2 at 4. The parties agree

 Swiderek never fully exhausted any relevant grievance. I therefore accept that as

 undisputed. Instead, Swiderek argues his administrative remedies were unavailable

 because he submitted an “emergency grievance” and never received any receipt or

 response from the Grievance Specialist. In other words, Swiderek contends he

 exhausted all of the administrative remedies that were available to him. ECF 92-1 at 5-

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         Specifically, Swiderek testified at his deposition to the following facts: (1) on

 January 14, 2023, Swiderek placed an emergency grievance in his cell door bars for pick-

 up; (2) an unknown member of prison staff picked up the grievance from his cell door;

 (3) Swiderek never received any receipt or response to his emergency grievance from

 the grievance office; and (4) Swiderek never followed up with the Grievance Specialist

 regarding the lack of receipt or response to his emergency grievance.1 ECF 75-4 at 18-23.

         In their summary judgment motion, the defendants argue that, accepting as true

 that Swiderek submitted an emergency grievance on January 14 and never received any

 receipt or response from the grievance office, Swiderek nevertheless had available

 administrative remedies he did not exhaust before filing this lawsuit because he

 concedes he did not comply with the Offender Grievance Process’ “notice

 requirement.” Specifically, the Offender Grievance Process provides that once an

 inmate submits a grievance, the Grievance Specialist has ten (10) business days to

 screen the grievance and either accept and record it, or reject it. ECF 75-2 at 10-11. If an

 inmate submits a grievance and “does not receive either a receipt or a rejected form

 from the Offender Grievance Specialist within ten (10) business days of submitting it,”

 the Offender Grievance Process imposes a “notice requirement” on the inmate by which

 the inmate must “notify the Offender Grievance Specialist of that fact (retaining a copy



         1 Swiderek testified during his deposition that after he submitted his grievance he asked for a CO

 to have the counselor come talk to him to find out what to do next, but no one ever did. ECF 75-4 at 22.
 This oral inquiry of the CO does not satisfy the notice requirement because Swiderek has not established
 that he submitted a written notice to the Grievance Specialist regarding his lack of response to the
 emergency grievance.




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 of the notice) and the Offender Grievance Specialist shall investigate the matter and

 respond to the offender’s notification within ten (10) business days.” Id. at 10.

        It is well established that the “notice requirement” of the Offender Grievance

 Process is a necessary step to exhaust a grievance. See Lockett, 937 F.3d at 1027 (even

 accepting as true that the inmate filed a grievance, he must provide evidence he

 contacted the Grievance Specialist when he received no response to his grievance);

 Lipscomb v. Galipeau, No. 3:22-CV-106-JD-MGG, 2023 WL 1778435, at *3 (N.D. Ind. Feb.

 6, 2023) (granting summary judgment to the defendant because the inmate did not

 notify the Grievance Specialist after not receiving a response to his grievance); Rambo v.

 Smiley, No. 3:18-CV-740-JD-MGG, 2020 WL 1157865, at *4 (N.D. Ind. Mar. 10, 2020)

 (same). But Swiderek argues this requirement of the Offender Grievance Process does

 not apply here because he filed an emergency grievance, which is subject to a different

 set of procedures. See ECF 75-2 at 6 (permitting an inmate to submit an emergency

 grievance, which shortens the Grievance Specialist’s timeline for responding to the

 grievance).

        Let’s assume that Swiderek submitted an emergency grievance on January 14

 and never received any receipt or response from the grievance office. The fact of the

 matter is that Swiderek was still required to comply with the Offender Grievance

 Process’ notice requirement and notify the Grievance Specialist of the lack of receipt or

 response to his emergency grievance. Specifically, while Swiderek is correct that the

 Offender Grievance Process provides a different procedure for responding to an




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 emergency grievance, there’s no evidence the Offender Grievance Process changes the

 process for screening an emergency grievance.

        The Southern District of Indiana recently addressed this issue and reached the

 same conclusion. In Brock v. Centurion Health of Indiana, LLC, No. 1:22-CV-1734-SEB-

 CSW, 2024 WL 247272, at *3 (S.D. Ind. Jan. 23, 2024), the court determined the inmate

 was required to notify the Grievance Specialist of the lack of response to his emergency

 grievance, as the emergency grievance procedure “does not set out different processes

 for screening, rejecting, or logging emergency grievances.” Similarly, in Peacher v.

 Reagle, No. 1:21-CV-2361-JMS-TAB, 2022 WL 1017327 (S.D. Ind. Apr. 5, 2022), the court

 determined the Offender Grievance Process changes the procedure for responding to an

 emergency grievance, but does not change the procedure for screening an emergency

 grievance. Specifically, the court noted:

        To be sure, the grievance policy provides an accelerated timeline for
        emergency grievances. But it does not create a special deadline for every
        step of the process—only some. For example, the very first step in the
        grievance process is for the grievance specialist to decide whether to accept
        and record the grievance or to reject and return it. The usual time to take
        such action is 10 business days, and the emergency grievance provision
        does not create an alternative deadline.

 Id. at *5 (citations omitted).

        I agree with the analysis of the Southern District of Indiana. Specifically, nothing

 in the text of the Offender Grievance Process indicates the “notice requirement” does

 not apply to emergency grievances. In fact, Section X(C) of the Offender Grievance

 Process (which lays out the procedure for responding to a grievance) explicitly states

 that it does not apply to emergency grievances. ECF 75-2 at 11, Section C (“If the matter


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 is not an emergency grievance, or a PREA grievance, the Offender Grievance Specialist has

 fifteen (15) business days from the date that the grievance is recorded to complete an

 investigation and provide a response to the offender”) (emphasis added). The fact that

 Section X(C) explicitly states it does not apply to emergency grievances while Section

 X(B) is silent on the matter implies that the screening procedure applies to emergency

 grievances. See Bittner v. United States, 598 U.S. 85, 94 (2023) (“When [a legislative body]

 includes particular language in one section of a statute but omits it from a neighbor, we

 normally understand that difference in language to convey a difference in meaning”).

        Additionally, reading the “notice requirement” out of the emergency grievance

 procedure would be problematic, as it would create a loophole by which any inmate

 could bypass the PLRA’s exhaustion requirement merely by stating he submitted an

 emergency grievance and never received any receipt or response from the Grievance

 Specialist. This goes against the purpose of the PLRA’s exhaustion requirement, which

 is to give the prison notice of the problem and an opportunity to address it. Maddox v.

 Love, 655 F.3d 709, 722 (7th Cir. 2011). Requiring the inmate to notify the Grievance

 Specialist of the lack of response to his emergency grievance enforces this purpose by

 giving the Grievance Specialist an opportunity to address the grievance and potentially

 fix the problem.

        Accordingly, the fact that Swiderek filed an emergency grievance rather than a

 normal grievance did not negate the need for him to follow up when he received no

 response to his grievance. Thus, accepting as true that Swiderek submitted an

 emergency grievance on January 14, 2023, and never received any receipt or response


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 from the grievance office, the undisputed facts show Swiderek still had available

 administrative remedies he did not exhaust before filing this lawsuit because he did not

 comply with the Offender Grievance Process’ requirement to notify the Grievance

 Specialist of the lack of receipt or response to his emergency grievance. The defendants

 have therefore met their burden to show Swiderek did not exhaust his available

 administrative remedies before filing this lawsuit. Summary judgment is warranted in

 their favor.

        For these reasons, the court:

        (1) GRANTS the defendants’ motions for summary judgment (ECF 75; ECF 85);

           and

        (2) DIRECTS the clerk to enter judgment in favor of the defendants and against

           Travis Andrew Swiderek and to close this case.

 SO ORDERED.

 ENTERED: June 11, 2025.

                                                   /s/ Philip P. Simon
                                                   PHILIP P. SIMON, JUDGE
                                                   UNITED STATES DISTRICT COURT




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